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 6

 7                                IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                          OAKLAND DIVISION
10

11    UNITED STATES OF AMERICA,                               Case No.: 4:20-CR-00266-JST

12                   Plaintiff,                               DEFENDANT’S RESPONSE TO UNITED
                                                              STATES’ SENTENCING
13            v.                                              MEMORANDUM
14    MICHAEL ROTHENBERG,                                     Court:          Courtroom 6, 2nd Floor
                     Defendant.                               Hearing Date:   November 8, 2024
15
                                                              Hearing time:   9:30 a.m.
16

17         Pursuant to Northern District Criminal Local Rule 32-5(c), Mr. Rothenberg files this response
18   to the government’s sentencing memorandum. See Dkt. 414, United States’ Sentencing Memorandum
19   (“Gov. Sent. Memo.”).
20   A.    The Court should not use the heightened Guideline range proposed by the Government.
21         The government complains that the U.S. Sentencing Guidelines (“U.S.S.G.”) requires the Court
22   to reduce the Guidelines range to give Mr. Rothenberg “credits against loss,” which has the effect of
23   reducing the Guidelines range loss amount. Gov. Sent. Memo. at 5; see also Dkt. 411, Defendant’s
24   Sentencing Memorandum, Motion for Downward Variance and Objections to the Presentence
25   Investigation Report (“Def. Sent. Memo.”) at 12. It asserts that the operation of the Guidelines means
26   Mr. Rothenberg “skates away” and “does not capture the gravity” of the situation. Gov. Sent. Memo.
27   at 5. This argument is meritless.
28         As an initial matter, there is nothing about this situation that suggests Mr. Rothenberg has

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 1   managed to “skate[] away.” He is a convicted felon and bankrupt, with an irreparably damaged
 2   reputation who is facing the possibility of multiple years in federal prison—even under the probation
 3   office’s Guideline range and sentencing recommendation that gives Mr. Rothenberg the benefit of
 4   these credits—after spending more than four years of his life in criminal litigation and enduring the
 5   stress of two multi-week jury trials. When all is said and done, no rational observer looking at this
 6   case will conclude Mr. Rothenberg “skate[d] away” with anything.
 7         More generally, the government’s complaint that the Sentencing Guidelines seem to “reward”
 8   Mr. Rothenberg for the fact that investors—including the investor quoted in the government’s
 9   sentencing memorandum—suffered no Guideline loss betrays a complete misunderstanding of the
10   fraud Guideline, U.S.S.G. § 2B1.1. For better or for worse, the Sentencing Guidelines for fraud and
11   other financial crimes have been driven by the amount of “loss” from the very beginning of the
12   Sentencing Guidelines system. For defendants, that focus on loss has certainly been for the worse.
13         The Sentencing Commission “developed Guidelines sentences using an empirical approach
14   based on data about past sentencing practices, including 10,000 presentence investigation reports.”
15   Kimbrough v. United States, 552 U.S. 85, 96 (2007). But when it came to the fraud Guideline, the
16   Sentencing Commission did something different:
17         after reviewing the empirical data, the Commission deviated from its standard practice
           of anchoring the recommended sentencing ranges in the empirical data. First, the
18         Commission chose to exclude from its analysis fifty percent of the total data—every
           sentence in which a judge had issued a sentence of probation. In addition, even after
19         excluding half of the relevant data, it chose to recommend more severe sentences than
           the mean sentences of incarceration reflected in the remaining 50 percent of empirical
20         data it considered.
21   Barry Boss & Kara Kapp, How the Economic Loss Guideline Lost Its Way, and How to Save It, 18
22   Ohio St. J. Crim. L. 605, 608–09 (2021) (citing Mark W. Bennett et al., Judging Federal White-
23   Collar Fraud Sentencing: An Empirical Study Revealing the Need for Further Reform, 102 Iowa L.
24   Rev. 939, 950 n.48 (2017)). The Commission did so “to encourage judges to issue sentences of
25   incarceration for fraud offenders.” Boss & Kapp, How the Economic Loss Guideline Lost Its Way,
26   and How to Save It, 18 Ohio St. J. Crim. L. at 609. Over the years, the Sentencing Commission has
27   “dramatically increased the severity of the loss table” in U.S.S.G. § 2B1.1, resulting “in a loss table
28   today that recommends sentences for economic crimes that are orders of magnitude greater than the

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 1   same sentence for the same crime back in the 1980s.” Boss & Kapp, How the Economic Loss
 2   Guideline Lost Its Way, and How to Save It, 18 Ohio St. J. Crim. L. at 613 (emphasis in original). As
 3   Judge Rakoff of the Southern District of New York has noted,
 4         The Guidelines’ calculations for [white collar offenses] are no longer tied to the mean
           of what federal judges had previously imposed for such crimes, but instead reflect an
 5         ever more draconian approach to white collar crime, unsupported by any empirical data.
           Take the hypothetical but typical case…involving a typical securities fraud defendant
 6         who pled guilty to inflating the financial figures of a public company, thereby causing
           at least 250 shareholders to collectively suffer a reduction of more than $12.5 million in
 7         the value of their shares. In 1987, such a defendant would have faced a Guidelines
           sentence of 30–37 months; but by 2003, the same defendant would have faced a
 8         Guidelines sentence of 151–188 months, a more than 500% increase. Was such a crime
           really 500% worse in 2003 than it was in 1987? Had any of the factors that underlie
 9         rational sentencing so radically changed as to warrant such a huge increase?
10   United States v. Gupta, 904 F. Supp. 2d 349, 351 (S.D.N.Y. 2012), aff’d, 747 F.3d 111 (2d Cir. 2014)
11   (citing Kate Stith, Federal Sentencing: The One–Way Ratchet, New York City Bar Association First
12   Annual Conference on White Collar Crime (May 2012)). And as the Supreme Court has explained,
13   when the “Commission[] depart[s] from its empirical approach in formulating” Sentencing
14   Guidelines, it is not “an abuse of discretion for a district court to conclude when sentencing a
15   particular defendant” that the Guideline yields a “‘greater than necessary’ to achieve § 3553(a)’s
16   purposes, even in a mine-run case.” Kimbrough, 552 U.S. at 89.
17         Given that the Guidelines’ focus on loss generally benefits the government rather than criminal
18   defendants, there is nothing unfair about Guidelines loss being offset by credits. The rationale for that
19   common sense proposition is that the “Sentencing Guidelines ‘call for the court to determine the net
20   detriment to the victim, rather than the gross amount of money that changes hands.’” United States v.
21   Brownell, 495 F.3d 459, 463 (7th Cir. 2007) (quoting United States v. Hausmann, 345 F.3d 952, 960
22   (7th Cir. 2003)).
23         Conversely, the government’s suggestion that the Court consider the guideline range loss to be
24   approximately $18 million and the corresponding Guideline range to be 151-188 months is not only
25   unsupported by the facts—as conceded by the government—but would also be arbitrary. It would be
26   based on the flawed sentencing loss table that is unsupported by empirical evidence as explained
27   earlier. And more fundamentally, the government should not be free to pick and choose which
28   Guidelines to apply, and when to apply them, based on its sense of rough justice because it turned out

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 1   the “value” the government ascribed to a particular case was wrong.
 2         Also problematic is the government’s comparison to the Sam Bankman-Fried sentencing
 3   hearing. Gov. Sent. Memo. at 6. The government claims the defendant there “attempted to benefit
 4   from changes in the value of residual holding by the victims to reduce or eliminate the Guidelines
 5   loss calculation” and that since the district court there rejected that argument for Bankman-Fried, this
 6   Court should do the same. Id.
 7         But that is not at all what happened as evidenced by the transcript of the hearing. There, as the
 8   district court itself stated, the “defendant’s argument hinges on what amounts to an assumption that
 9   customers of FTX are going to be made whole in the bankruptcy.” Dkt. 414, Exh. A at 4:11-13
10   (emphasis added). In other words, unlike the investors here who have already been repaid, FTX
11   customers had yet to be repaid and it was unclear whether in fact they would ever be. In other words,
12   Bankman-Fried had no tangible credits to offset the loss, a situation completely different than the one
13   here involving Mr. Rothenberg. 1
14         Finally, as to Pilot Grove, in its opposition to Mr. Rothenberg’s now denied motion for a
15   continuance of the sentencing hearing, the government asserted that “no payments have been made to
16   Pilot Grove” concerning the $1.2 million in carry equity units it secured as part of the settlement of
17   the Pilot Grove civil lawsuit. Dkt. 413, United States’ Opposition to Motion to Continue Sentencing
18   at 2. But the Ninth Circuit has made clear it is error for a district court to calculate “the actual loss as
19   the amount that the victims paid to buy the stock, with no offset for the present-day value of the
20   stock” when “the underlying company has intrinsic value.” United States v. Laurienti, 611 F.3d 530,
21   558 (9th Cir. 2010); see also United States v. Zolp, 479 F.3d 715, 719 (9th Cir. 2007) (“because the
22   stock continues to have residual value after the fraudulent scheme is revealed, the court may not
23   assume that the loss inflicted equals the pre-disclosure value of the stock; rather, the court must
24   disentangle the underlying value of the stock, inflation of that value due to the fraud, and either
25
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26     Interestingly, Judge Kaplan also noted the “loss table” in § 2B1.1 is “a debatable proposition” and
     “Any number of my colleagues have criticized it on various grounds. As I understand its genesis,
27   there’s really no empirical basis for the brackets assigned or for the assignment of different losses to
     different brackets. I share many of those criticisms and concerns with my colleagues.” Dkt. 414, Exh.
28   A at 6:17-22. Judge Kaplan ultimately imposed a 20 year prison sentence on Bankman-Fried, half as
     long as the 40 year prison sentence recommended by the government. Id. at 57:6, 58:6.
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 1   inflation or deflation of that value due to unrelated causes”); United States v. Holmes, 5:18-CR-
 2   00258-EJD, 2023 WL 149108, at *5 (N.D. Cal. Jan. 10, 2023) (holding “total investment amount was
 3   subject to a reduction based on the inherent value of Theranos stock”). That principle applies equally
 4   here to mean that Pilot Grove’s loss must be offset by the “present-day value of” the CEUs.
 5   Laurienti, 611 F.3d at 558. And that again distinguishes this case from that of Sam Bankman-Fried,
 6   as a creditor’s future bankruptcy claim is not the same thing as an investment that has current value.
 7         Thus, this Court should reject not only the government’s complaints about offsetting the
 8   Guideline loss amount with credits, but also its suggestion this Court disregard the facts and the
 9   Guidelines themselves and arbitrarily adopt a heightened Guideline range.
10   B.    The government’s proposed 97 month sentence would lead to sentencing disparity.
11         The government ultimately recommends a 97 month sentence—the high end of the Guideline
12   range as calculated in the PSR—a significant sentence for a defendant like Mr. Rothenberg with no
13   prior criminal history or convictions of any kind.
14         Imposing such a sentence would lead to significant sentencing disparity, precisely what a
15   sentencing court must avoid. See 18 U.S.C. § 3553(a)(6). A 97 month sentence would lead to
16   unwarranted sentencing similarity with defendants who are not similarly situated. See United States v.
17   Amezcua-Vasquez, 567 F.3d 1050, 1058 (9th Cir. 2009). Indeed, the government’s sentencing
18   recommendation is closer to the 135 month sentence imposed on Elizabeth Holmes—despite the
19   significant difference that the loss amount in her case was more than $380 million and the aggravated
20   fact that, unlike this case, the fraud at Theranos involved a significant risk of death or serious injury
21   to patients—than the 54 month sentence recommended by the probation office. See Holmes, 2023
22   WL 149108, at *3. Or in another example, the government’s sentencing recommendation is closer to
23   the 120 month sentence imposed on a Ponzi scheme defendant convicted of defrauding investors out
24   of more than $63 million. See United States v. Chung, 3:19-CR-00302-JSW (N.D. Cal.).
25         The government’s proposed sentence would also result in a sentence that is higher than those
26   imposed for defendants in the Northern District convicted of fraud with significantly higher
27   Guidelines loss. For example:
28             •   United States v. Jordanov, 3:21-CR-00227-WHA-1: Defendant convicted of defrauding

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 1                 company investor of $100 million through fraudulent statements concerning ownership
 2                 of intellectual property. Government recommended 18 month sentence on 87-108
 3                 month Guideline range. The Court imposed a 12 month and 1 day sentence.
 4             •   United States v. Lin, 3:21-CR-00227-WHA-2: Defendant convicted of defrauding
 5                 company investor of $100 million through fraudulent statements concerning ownership
 6                 of intellectual property. Government recommended, and defendant received 12 month
 7                 and 1 day sentence on 70-87 month Guideline range.
 8             •   United States v. Ichioka, 3:23-CR-00190-VC: Defendant defrauded investors of $25
 9                 million in Ponzi scheme. Government recommended 78 month sentence on 78-97
10                 month Guidelines; district court imposed 48 month sentence.
11         It is not just anecdote that suggest the government’s sentencing recommendation would lead to
12   unwarranted sentencing disparity. The PSR notes that according to the Sentencing Commission’s
13   Judiciary Sentencing INformation (JSIN) database, the average sentence imposed on a defendant
14   whose primary Guideline was § 2B1.1 and who had the same final offense level and criminal history
15   category as calculated in the PSR for Mr. Rothenberg was 62 months, and the median sentence was
16   60 months. PSR ¶ 166. 2 So the government’s proposal of a 97 month sentence is 44% higher than the
17   average sentence imposed on a similarly situated defendant.
18         The government has presented no evidence that suggests such a disproportionate sentence is
19   warranted here. This Court should reject the government’s 97 month sentencing recommendation.
20
          Dated:    November 5, 2024                          Respectfully submitted,
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                                                              MOEEL LAH FAKHOURY LLP
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23
                                                              Hanni M. Fakhoury
24                                                            Attorneys for Michael Rothenberg
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28     Mr. Rothenberg is not waiving his previously filed objections to the Guideline range calculated in
     the PSR. See Def. Sent. Memo. at 11-17.
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